Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 1 of 7 Page ID #:1850




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 9

10                                UNITED STATES DISTRICT COURT

11
             FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

12
      DAVID RAMIREZ, SHARON SWEAT,            Case No. 8:18-cv-00220-DOC-KES
13    STEPHENIE SAINT VINCENT, RAYA
                                              Related Case No. 8:18-cv-00155-DOC-KES
14
      IVES, DEREK MACARTHUR, KIM
      GRAY, and ERIK TEASLEY, as
                                              NOTICE TO THE COURT RE ISSUES
15    individuals; PEOPLE’S HOMELESS
                                              RELATING TO IMPLEMENTATION OF
      TASK FORCE, an unincorporated
16                                            STIPULATION IN ORANGE COUNTY
      association;
                                              CATHOLIC WORKER, ET AL. v. COUNTY
17                                            OF ORANGE, ET AL.
                    Plaintiffs,
18

19         vs.
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21    THE COUNTY OF ORANGE, a
      municipal entity;
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                    Defendant.
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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 2 of 7 Page ID #:1851




 1           On February 7, 2018, the court related this action to Catholic Worker, et al. v. County of

 2   Orange et al., Case No. SA CV 18-0155-DOC (KEXs)(hereinafter, "Catholic Worker"). On
     February 6, 2018, the Court issued a temporary restraining order, enjoining Defendants in Catholic
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     Worker from enforcement of any infraction or misdemeanor against people living along the Santa
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     Ana Riverbed. Case No. SA CV 18-0155-DOC, Dkt. # 53. On February 13, 2018, after a hearing
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     before the Court, the parties in Catholic Worker entered into a stipulation ("Stipulation") providing
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     that, among other things, the "County will provide a motel room for a minimum of 30 days for
 7   approximately 400 homeless persons presently encamped on the Santa Ana Riverbed." Id. at Dkt. #
 8   92. On February 15, 2018, the Court issued an order extending the temporary restraining order until
 9   February 20, 2018 at 9:00 a.m., at which time the injunction will lift so that the terms of the
10   Stipulation may be carried out. On February 17, 2018, the Court issued an order directing the parties

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     to submit notices to the Court identifying any issues relating to the implementation of the Stipulation.
     Id. at Dkt. # 98.
12
             In response to the Court's February 17, 2018 Order, Plaintiffs in Ramirez, et al. v. County of
13
     Orange ("Plaintiffs") submit this notice to the Court. While Plaintiffs are not parties to the
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     Stipulation, implementation of the Stipulation will have a direct and consequential impact on
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     Plaintiffs because Plaintiffs are persons with disabilities as defined by the Americans with
16   Disabilities Act ("ADA") who are currently living at the Santa Ana Riverbed. Plaintiffs have agreed
17   to relocate to a motel. Plaintiffs submit this notice in order to inform the Court of various issues that
18   have already arisen or that Plaintiffs anticipate will arise relating to implementation of the

19   Stipulation. If these issues are not addressed, they have the potential to negatively affect Plaintiffs'
     health and safety and may prevent the County from complying with its obligations under the
20
     Stipulation.
21
         1. The County Should Establish a Process for Individuals with Disabilities to Make
22
             Reasonable Modification Requests.
23
             The majority of the residents at the Riverbed are individuals with physical and/or mental
24   health disabilities, as documented by the County in a census conducted in 2016. These individuals
25   have a variety of special needs as a result of their disabilities and medical histories.
26           While Paragraph 2 of the Stipulation identifies the County's commitment to completing a
27   clinical assessment with individuals to identify their needs and connect them to appropriate resources

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     after they are relocated to a motel, there is no procedure in place to address accommodations for



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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 3 of 7 Page ID #:1852




 1   disabilities during the relocation process. Plaintiffs have made two reasonable modification requests

 2   in the last week to address accommodations required by Plaintiffs during their relocation to motels,
     but both of those requests have gone ignored by the County. See Exhibits A and B. Plaintiffs and
 3
     others similarly situated people are extremely vulnerable. Without a process in place that will permit
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     individuals to inform the County of disabilities and to request accommodations for those disabilities,
 5
     those individuals’ medical needs will go unaddressed.
 6
            Plaintiffs request that a reasonable modification process be put in place, in compliance with
 7   the ADA, that would include: (1) a contact person at the County who will be responsible for
 8   reviewing reasonable accommodation requests; (2) a process for discussing services and motel
 9   housing with the individual making the request in a good faith effort to accommodate the request; (3)
10   accommodations for physical disabilities at motels, such as first-floor motel rooms for those with

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     mobility issues, or other ADA compliant housing options; (4) provision of information to homeless
     individuals regarding the services the County intends to provide during motel stays, and contact
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     information for individuals who have problems accessing those services or who need to schedule
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     services, including food and transportation services; and (5) an opportunity to seek advice from
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     counsel relating to housing and service options, including, if necessary, the opportunity to use County
15
     outreach workers' phones to call counsel.
16      2. Some of the Motels Offered by the County Have Uninhabitable Conditions That
17          Threaten the Health and Safety of Individuals with Disabilities.
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            Pursuant to Paragraph 1 of the Stipulation, the County will provide a motel room for a
19   minimum of 30 days to homeless persons encamped at the Riverbed. However, some homeless
20   individuals, including Plaintiffs, are being offered motels that have dangerous, unsanitary or
21   uninhabitable conditions. These conditions have the potential to worsen the health conditions of the

22   people being relocated, particularly people with disabilities.

23
            For example, Plaintiffs Derek MacArthur and Sharon Sweat were offered rooms at the Corral
     Motel in Buena Park. Upon investigation, MacArthur and Sweat learned that the motel has bedbugs,
24
     infestation of rodents, plumbing problems, and a reputation for harboring illicit activities. See
25
     Exhibit C (Yelp Reviews for Corral Motel), and Exhibit D (Code Enforcement Report for Corral
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     Motel). In order to protect the health and safety of homeless residents, Plaintiffs requests that the
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     County provide safe and habitable motel rooms to individuals willing to relocate from the Riverbed.
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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 4 of 7 Page ID #:1853




 1      3. Plaintiffs Request Motel Accommodations in Proximity to the Resources That They Rely

 2          On.

 3          Pursuant to Paragraphs 1 and 4 of the Stipulation, the County will place individuals in motels
 4   and make provisions for access to food resources. Access to resources is a crucial component of
 5   assisting homeless individuals, particularly those with disabilities, because those individuals have

 6
     very limited personal resources and limited access to transportation. These individuals typically rely
     on community-based resources within a limited geographic area.
 7
            Plaintiffs request that they be placed in motels surrounding the I-5 interchange, which is the
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     area in which they currently live and with which they are familiar. Plaintiffs rely on various
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     resources in this geographic area, including food, medical providers, and community, and their
10
     isolation from these resources could be detrimental to their health. Plaintiffs also rely on a network
11   of people in their local communities for emotional support, safety, and assistance with accessing
12   resources.
13          Despite this need, the County offered Plaintiff MacArthur a motel placement in Brea, CA.

14   MacArthur was unable to accept that placement because his limited mobility means that he would be
     unable to access the resources he relies on to survive, including medical resources. As another
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     example, the County took Plaintiff Ramirez to a motel in Stanton, CA, even though he has been
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     living between Fountain Valley and Anaheim for the last several years, has been relying on resources
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     in that area, and does not have a car.
18
            Plaintiffs are already being uprooted from the environments to which they are accustomed in
19   order to move to a temporary motel pursuant to the Stipulation. If Plaintiffs were to be moved to
20   unfamiliar surroundings outside of geographic area surrounding the I-5 interchange, Plaintiffs would
21   be isolated from their support system and may be unable to access the resources that they rely on to

22   survive. This could aggravate Plaintiffs' disabilities, causing re-traumatization and deterioration of

23
     their health. On the other hand, permitting Plaintiffs to stay close to local resources and their support
     systems, in an area that they are familiar with, would reduce the trauma caused by requiring Plaintiffs
24
     to relocate to yet another unfamiliar and temporary location.
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        4. The County Should Provide Sufficient Information to Allow Informed Decision Making.
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            Under Paragraph 2 of the Stipulation, the County has committed to assessing the needs of
27
     individuals in order to identify appropriate resources. However, in its haste to comply with the
28   Stipulation, the County has failed to provide basic information to affected individuals regarding the


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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 5 of 7 Page ID #:1854




 1   housing and services that the County is offering. County staff has been approaching individuals with

 2   a list of services and housing. However, when individuals ask the County what the services entail or
     whether the housing is disability accessible, the County can only provide names and locations of the
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     programs and housing.
 4
             The majority of the individuals living on the Riverbed suffer from physical and mental
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     disabilities. Without specific information regarding these services, these individuals cannot evaluate
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     whether what is being offered will accommodate their disabilities. This lack of information sets these
 7   individuals up for failure and puts them at risk of being labeled "service-resistant" by the County.
 8           Accordingly, Plaintiffs request that the County provide notice and information regarding the
 9   services and housing being offered, including a description of the services and accessibility of the
10   housing, so that Plaintiffs may evaluate whether what is being offered will accommodate their

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     disabilities. In addition, Plaintiffs request the ability to discuss these options with their attorneys at
     the Legal Aid Society of Orange County in order to assist them in identifying the appropriateness of
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     services and housing options.
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         5. The County Should Accommodate the Needs of Victims of Trauma by Permitting Them
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             to Remain Together in the Same Motel Where Necessary.
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             Many of the homeless individuals living on the Riverbed, including Plaintiffs, are survivors of
16   severe trauma, such as child abuse, domestic violence and sexual assault. In many cases, the history
17   of trauma has resulted in physical and mental disabilities, including severe stress, anxiety, depression,
18   PTSD, and bipolar disorder. To manage these disabilities, many individuals, including female

19   Plaintiffs, have banded together for protection and support. These close-knit groups rely on each
     other for survival.
20
             Although it would be consistent with Paragraph 2 of the Stipulation for the County to
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     accommodate the needs of these individuals by placing them together in one motel, the County has
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     been separating individuals and placing them in various motels throughout the County, including
23
     Stanton and Brea.
24           Plaintiffs request that the County take into consideration Plaintiffs' trauma-based disabilities
25   and the relationships they rely upon to manage their disabilities when offering motel housing.
26   Specifically, female Plaintiffs Ives, Saint Vincent, Gray, and Sweat request that they be placed in the
27   same motel.

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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 6 of 7 Page ID #:1855




 1      6. The County Should Not Interfere with Requests to Consult with Legal Counsel.

 2          As the County carries out its obligations under the Stipulation, the County has demanded
     individuals make on-the-spot decisions regarding the County's offer of motel housing and services,
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     even though they have not been provided with sufficient information to fully understand what is
 4
     being offered. Plaintiffs have repeatedly requested that County staff give them time to consult with
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     their legal counsel before signing paperwork or being taken to a motel, the County has denied those
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     requests. Some individuals have been warned that if the offer is not accepted immediately the
 7   individual will lose the opportunity for services or housing altogether. Feeling intimidated, many
 8   have hurriedly accepted the County's offer without a full understanding of what is being offered or
 9   whether the offer accommodates their disabilities.
10          Plaintiffs suffer from a variety of disabilities, including mental health disabilities, and are

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     some of the most vulnerable people in Orange County. Not allowing time for individuals to consider
     their options or seek counsel exacerbates symptoms of stress and anxiety and places them at risk of
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     accepting services that will ultimately worsen their health conditions.
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            Plaintiffs request that the County permit individuals time and a method of accessing legal
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     counsel before being required to relocate or sign paperwork. Plaintiffs also request that the County
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     stop engaging individuals for services in manner that is intimidating for people with disabilities and
16   that can be psychologically damaging.
17

18                                                 Conclusion

19          Plaintiffs respectfully submit this Notice of Issues Relating to Implementation of the
     Stipulation, as requested in the Court’s February 17, 2018 Order. In so doing, Plaintiffs seek to
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     inform the Court of the needs of individuals with disabilities living at the Riverbed in order to ensure
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     that people with disabilities are accommodated as they are relocated from the Riverbed to motel
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     housing pursuant to the Stipulation. If so desired by the Court, Plaintiffs can provide additional
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     information regarding any of the issues.
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Case 8:18-cv-00155-DOC-JDE Document 101 Filed 02/17/18 Page 7 of 7 Page ID #:1856




 1   Dated: February 17, 2018

 2                                     Respectfully submitted,
                                       LEGAL AID SOCIETY OF ORANGE COUNTY
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 4
                                       ___/S/____Lili V Graham_______________________
 5                                     By: LILI V GRAHAM
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